USCA Case #23-5044   Document #2015574         Filed: 09/06/2023   Page 1 of 23



            NOT YET SCHEDULED FOR ORAL ARGUMENT

                                No. 23-5044


            IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


                           IN RE SEALED CASE

               On Appeal from the United States District Court
                       for the District of Columbia
                   No. 23-sc-31 (Hon. Beryl A. Howell)



         BRIEF OF AMICI CURIAE 22 PRESS ORGANIZATIONS
               IN SUPPORT OF NEITHER PARTY AND
        IN SUPPORT OF ACCESS TO SEALED COURT RECORDS



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USCA Case #23-5044      Document #2015574           Filed: 09/06/2023    Page 2 of 23



   CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES
      Pursuant to D.C. Circuit Rule 28(a)(1), counsel for amici curiae certify as

follows:

      A.     Parties And Amici

      Appellant is Twitter, Inc. (“Twitter”). Appellee is the United States of

America. Amici curiae are Advance Publications, Inc., American Broadcasting

Companies, Inc. d/b/a ABC News, The Associated Press, Bloomberg L.P., Cable

News Network, Inc., CBS Broadcasting, Inc. o/b/o CBS News, Dow Jones &

Company, Inc., publisher of The Wall Street Journal, The E.W. Scripps Company,

Fox News Network, LLC, USA TODAY, a publication operated by subsidiaries of

Gannett Co., Inc., Gray Media Group, Inc., Los Angeles Times Communications

LLC, publisher of The Los Angeles Times, National Cable Satellite Corporation

d/b/a C-SPAN, NBCUniversal Media, LLC d/b/a NBC News, The New York

Times Company, POLITICO LLC, Radio Television Digital News Association,

Reuters News & Media Inc., TEGNA Inc., Telemundo Network Group LLC d/b/a

Noticias Telemundo, Univision Networks & Studios, Inc., and WP Company LLC

d/b/a The Washington Post.

      B.     Ruling At Issue
      The ruling to which this brief responds is the August 16, 2023 Order of this

Court directing the parties to show cause why the “sealed merits briefs in this case


                                         ii
USCA Case #23-5044       Document #2015574           Filed: 09/06/2023     Page 3 of 23



. . . and the audio recording and transcript of the joint session of the oral argument

should not be unsealed,” and directing the Government to show cause “why the ex

parte appellee brief and the audio recording and transcript of the ex parte session of

the oral argument should not be unsealed.” Order of Aug. 16, 2023 (per curiam).

      C.       Related Cases

      Amici recently filed a related application for access to records in this matter

that remain under seal in the U.S. District Court for the District of Columbia,

which has been docketed as In re Press Application for Access to Judicial Records

in Case No. 23-sc-31, In the Matter of the Search of Information that is Stored at

Premises Controlled by Twitter, Inc., Case No. 23-mc-84-JEB (D.D.C.).

      D.       Rule 26.1 Corporate Disclosure Statement

      Advance Publications, Inc. does not have any parent corporation. Nor does

any publicly held corporation own more than ten percent of its stock.

      American Broadcasting Companies, Inc. d/b/a ABC News is an indirect,

wholly-owned subsidiary of The Walt Disney Company, a publicly traded

corporation.

      The Associated Press is a news cooperative incorporated under the Not-for-

Profit Corporation Law of New York and has no parents, subsidiaries or affiliates

that have any outstanding securities issued to the public.




                                          iii
USCA Case #23-5044         Document #2015574       Filed: 09/06/2023   Page 4 of 23



      Bloomberg L.P. is a limited partnership; its general partner is Bloomberg

Inc.; and no publicly held corporation owns 10% or more of Bloomberg L.P.’s

limited partnership interests.

      Cable News Network, Inc., is ultimately a wholly-owned subsidiary of

Warner Bros. Discovery, Inc., a publicly traded corporation. Warner Bros.

Discovery, Inc. has no parent company and, to the best of Cable News Network,

Inc.’s knowledge, no publicly held company owns 10% or more of Warner Bros.

Discovery, Inc.’s stock.

      CBS Broadcasting Inc. is a wholly owned subsidiary of Paramount Global, a

publicly traded company. National Amusements, Inc., a privately held company,

beneficially owns the majority of the Class A voting stock of Paramount Global.

Paramount Global is only aware, without further inquiry, that Berkshire Hathaway

Inc., a publicly traded company, beneficially owns at least 10% of Paramount

Global’s total common stock, i.e., Class A and Class B on a combined basis, as

reported on a Form 13F filed with the Securities and Exchange Commission on

February 14, 2023.

      Dow Jones & Company, Inc. (“Dow Jones”), publisher of the Wall Street

Journal, is an indirect subsidiary of News Corporation, a publicly held company.

Ruby Newco, LLC, an indirect subsidiary of News Corporation and a non-publicly

held company, is the direct parent of Dow Jones. News Preferred Holdings, Inc., a


                                        iv
USCA Case #23-5044         Document #2015574          Filed: 09/06/2023   Page 5 of 23



subsidiary of News Corporation, is the direct parent of Ruby Newco, LLC. No

publicly traded corporation currently owns 10% or more of the stock of Dow

Jones.

         The E.W. Scripps Company is a publicly traded company with no parent

company. No individual stockholder owns more than 10% of its stock.

         Fox News Network, LLC is directly, wholly-owned by Fox Television

Stations, LLC, which is directly, wholly-owned by Fox Television Holdings, LLC,

which is directly, wholly-owned by Foxcorp Holdings LLC, which is directly,

wholly-owned by Fox Corporation, which is the ultimate parent and is publicly

held. All of the aforementioned entities except Fox Corporation are privately held.

No publicly held corporation other than Fox Corporation owns 10% or more of

Fox News Network, LLC.

         Gannett Co., Inc. is a publicly traded company (NYSE: GCI). BlackRock

Inc., also a publicly traded entity, owns more than a ten percent interest in Gannett

Co., Inc.

         Gray Media Group, Inc. is held entirely by Gray Television, Inc., a publicly

held corporation. No entity holds 10% or more of the equity in Gray Television,

Inc.




                                           v
USCA Case #23-5044      Document #2015574         Filed: 09/06/2023     Page 6 of 23



      Los Angeles Times Communications LLC is a wholly-owned subsidiary of

NantMedia Holdings, LLC, which is a privately held company. No company with a

10% or greater ownership share in NantMedia Holdings, LLC is publicly traded.

      National Cable Satellite Corporation d/b/a C-SPAN is a District of Columbia

non-profit, non-stock corporation that is exempt from federal income tax pursuant

to Section 501(c)(3) of the Internal Revenue Code, and as such has no

stockholders.

      NBCUniversal Media, LLC d/b/a NBC News is indirectly owned by

Comcast Corporation, which is publicly held. No other publicly held corporation

owns 10% or more of the stock of NBCUniversal Media, LLC.

      The New York Times Company, a publicly traded company, has no parent

company and no publicly held corporation owns 10% or more of its stock.

      POLITICO LLC is wholly owned by POLITICO Media Group LLC which

is, in turn, wholly owned by Axel Springer SE, and no publicly held corporation

owns 10% or more of its stock.

      Radio Television Digital News Association is a nonprofit organization that

has no parent company and issues no stock.

      Reuters News & Media Inc. is a Delaware corporation whose parent is

Thomson Reuters U.S. LLC, a Delaware limited liability company. Reuters News

& Media Inc. and Thomson Reuters U.S. LLC are indirect and wholly owned


                                        vi
USCA Case #23-5044        Document #2015574        Filed: 09/06/2023   Page 7 of 23



subsidiaries of Thomson Reuters Corporation, a publicly held corporation that is

traded on the New York Stock Exchange and Toronto Stock Exchange. There are

no intermediate parent corporations or subsidiaries of Reuters News & Media Inc.

or Thomson Reuters U.S. LLC that are publicly held, and there are no publicly

held companies that own 10% or more of Reuters News & Media Inc. or Thomson

Reuters U.S. LLC shares.

      TEGNA Inc. has no parent corporation. No publicly held corporation owns

10% or more of Tegna, Inc.’s stock.

      Telemundo Network Group LLC d/b/a Noticias Telemundo is indirectly

owned by Comcast Corporation, which is publicly held. No other publicly held

corporation owns 10% or more of the stock of Telemundo Network Group LLC.

      Univision Networks & Studios, Inc. is a wholly-owned subsidiary of

Univision Communications Inc. (UCI), which is a privately held corporation. No

publicly held corporation currently owns 10% or more of the stock of UCI. UCI’s

ultimate parent company is TelevisaUnivision, Inc., and the publicly traded

company Grupo Televisa, S.A.B. owns 10% or more of the stock of

TelevisaUnivision, Inc.

      WP Company LLC d/b/a The Washington Post is a wholly owned subsidiary

of Nash Holdings LLC, which is privately held and does not have any outstanding

securities in the hands of the public.


                                         vii
USCA Case #23-5044                 Document #2015574                      Filed: 09/06/2023           Page 8 of 23



                                        TABLE OF CONTENTS
                                                                                                                Page

TABLE OF AUTHORITIES ....................................................................................ix

IDENTITY OF AMICI CURIAE, THEIR INTEREST IN THIS MATTER,
AND THE SOURCE OF THEIR AUTHORITY TO FILE THIS BRIEF ................ 1

RULE 29(a)(4)(E) CERTIFICATION....................................................................... 2

CIRCUIT RULE 29(d) CERTIFICATION ............................................................... 2

INTRODUCTION AND SUMMARY OF ARGUMENT ........................................ 3

ARGUMENT ............................................................................................................. 6

BACKGROUND AND PROCEDURAL HISTORY ............................................... 2

I.       THIS COURT SHOULD UNSEAL THE SEALED RECORDS
         UNDER THE FIRST AMENDMENT RIGHT OF ACCESS ........................ 7

         A.       The First Amendment Right Of Access Applies To
                  The Sealed Records ............................................................................... 8

         B.       The Government Cannot Justify Continuing To
                  Withhold The Sealed Records From The Public .................................. 9

II.      THIS COURT SHOULD UNSEAL THE SEALED RECORDS
         UNDER THE COMMON LAW RIGHT OF ACCESS ............................... 11

CONCLUSION ........................................................................................................ 12

CERTIFICATE OF COMPLIANCE ....................................................................... 13

CERTIFICATE OF SERVICE ................................................................................ 14




                                                         viii
USCA Case #23-5044                Document #2015574                     Filed: 09/06/2023            Page 9 of 23



                                     TABLE OF AUTHORITIES

                                                                                                           Page(s)

Cases
Carducci v. Regan,
  714 F.2d 171 (D.C. Cir. 1983) .............................................................................. 9

Dhiab v. Trump,
  852 F.3d 1087 (D.C. Cir. 2017) ........................................................................ 7, 9

Metlife, Inc. v. Financial Stability Oversight Council,
  865 F.3d 661 (D.C. Cir. 2017) ....................................................................6, 8, 11

In re New York Times Co.,
    585 F. Supp. 2d 83 (D.D.C. 2008) ...................................................................... 12

Richmond Newspapers v. Virginia,
   448 U.S. 555 (1980) .......................................................................................... 6, 9

In re Sealed Case,
    --- F.4th ---, 2023 WL 5076091, No. 23-5044
    (D.C. Cir. July 18, 2023) ................................................................................ 3, 10

United States v. Amodeo,
  71 F.3d 1044 (2d Cir. 1995) ................................................................................. 8

United States v. Hubbard,
  650 F.2d 293 (D.C. Cir. 1980) ............................................................................ 11

Washington Post v. Robinson,
  935 F.2d 282 (D.C. Cir. 1991) ............................................................................ 10




                                                         ix
USCA Case #23-5044      Document #2015574           Filed: 09/06/2023    Page 10 of 23



  IDENTITY OF AMICI CURIAE, THEIR INTEREST IN THIS MATTER,
   AND THE SOURCE OF THEIR AUTHORITY TO FILE THIS BRIEF
      Amici have moved for leave to file this brief pursuant to Federal Rule of

Appellate Procedure 29(a)(3) and Circuit Rule 29(b). As noted in that motion,

Twitter consented to the filing of this brief, and the Government asserted that it

“takes no position on this request and defers to the Court.”

      Amici are Advance Publications, Inc., American Broadcasting Companies,

Inc. d/b/a ABC News, The Associated Press, Bloomberg L.P., Cable News

Network, Inc., CBS Broadcasting, Inc. o/b/o CBS News, Dow Jones & Company,

Inc., publisher of The Wall Street Journal, The E.W. Scripps Company, Fox News

Network, LLC, USA TODAY, a publication operated by subsidiaries of Gannett

Co., Inc., Gray Media Group, Inc., Los Angeles Times Communications LLC,

publisher of The Los Angeles Times, National Cable Satellite Corporation d/b/a C-

SPAN, NBCUniversal Media, LLC d/b/a NBC News, The New York Times

Company, POLITICO LLC, Radio Television Digital News Association, Reuters

News & Media Inc., TEGNA Inc., Telemundo Network Group LLC d/b/a Noticias

Telemundo, Univision Networks & Studios, Inc., and WP Company LLC d/b/a

The Washington Post.

      As media organizations, amici regularly seek access to court records and

proceedings related to the Special Counsel’s investigation and prosecution of

former President Donald J. Trump. Amici recently filed a related application for

                                          1
USCA Case #23-5044      Document #2015574            Filed: 09/06/2023    Page 11 of 23



access to records in this matter that remain under seal in the U.S. District Court for

the District of Columbia, which has been docketed as In re Press Application for

Access to Judicial Records in Case No. 23-sc-31, In the Matter of the Search of

Information that is Stored at Premises Controlled by Twitter, Inc., Case No. 23-

mc-84-JEB (D.D.C.).

                      RULE 29(a)(4)(E) CERTIFICATION

      Pursuant to Federal Rule of Appellate Procedure 29(a)(4)(E), amici certify

that no party’s counsel authored this brief in whole or in part; no party or party’s

counsel contributed money that was intended to fund preparing or submitting this

brief; and no person – other than amici or their counsel – contributed money that

was intended to fund preparing or submitting the brief.

                   CIRCUIT RULE 29(d) CERTIFICATION

      Pursuant to D.C. Circuit Rule 29(d), amici certify that this brief is necessary

to provide the unique experience and perspective of news media organizations on

the public right of access to judicial records and proceedings. Amici are not aware

of any other amicus briefs being filed in response to the August 16, 2023 Order.




                                          2
USCA Case #23-5044      Document #2015574           Filed: 09/06/2023   Page 12 of 23



            INTRODUCTION AND SUMMARY OF ARGUMENT
      From his first day in office, former President Donald J. Trump used Twitter

prolifically. See, e.g., Michael D. Shear, et al., How Trump Reshaped the

Presidency in Over 11,000 Tweets, The New York Times (Nov. 2, 2019),

https://www.nytimes.com/interactive/2019/11/02/us/politics/trump-twitter-

presidency.html (“‘He needs to tweet like we need to eat,’ Kellyanne Conway, his

White House counselor, said in an interview.”). That continued until the platform

permanently suspended Trump’s account, following the Capitol riot, for

“violat[ing] the company’s policy against glorification of violence.” See, e.g.,

Brian Fung, Twitter bans President Trump permanently, CNN (Jan. 9, 2021),

https://www.cnn.com/2021/01/08/tech/trump-twitter-ban/index.html.

      “Since November 18, 2022, Special Counsel Jack Smith has overseen an

ongoing criminal investigation into potential interference with the peaceful transfer

of power following the 2020 presidential election.” In re Sealed Case, --- F.4th ---,

2023 WL 5076091, No. 23-5044 (D.C. Cir. July 18, 2023). This investigation has

so far led to Trump’s indictment on four felony counts, including conspiracy to

obstruct the certification of the electoral vote in Congress on January 6, 2021. See

United States v. Trump, No. 23-cr-257-TSC (D.D.C.).

      On August 9, 2023, this Court published a redacted version of a thirty-four-

page decision in this matter, affirming the District Court’s order in Case No. 23-sc-


                                          3
USCA Case #23-5044      Document #2015574           Filed: 09/06/2023    Page 13 of 23



31 (D.D.C.), In the Matter of the Search of Information That Is Stored at Premises

Controlled by Twitter, Inc. (“In re Twitter”), which held Twitter in contempt for

failing to comply promptly with a search warrant for private messages (known on

Twitter as “direct messages”) sent from Trump’s account, @realDonaldTrump.

Part of this Court’s docket has been unsealed sua sponte, and the District Court

released roughly 500 pages of records from the In re Twitter matter as well,

including a copy of the warrant served on Twitter in connection with the Special

Counsel’s investigation.1

       On August 16, 2023, this Court issued an order, sua sponte, requiring that

the parties show cause why the “sealed merits briefs in this case . . . and the audio

recording and transcript of the joint session of the oral argument should not be

unsealed.” Order of Aug. 16, 2023 (per curiam). The Court also ordered the

Government to show cause “why the ex parte appellee brief and the audio

recording and transcript of the ex parte session of the oral argument should not be

unsealed.” Id. Finally, the Court reminded counsel of their obligation “to

‘promptly notify the Court when it is no longer necessary to maintain the record or

portions of the record under seal.’” Id. (quoting D.C. Cir. Rule 47.1(f)(4)). The


   1
     The District Court released the records in two sets of documents: one unsealed
with redactions, see https://www.dcd.uscourts.gov/content/doc-50-1-attachment-
documents-unsealed-redactions, the other unsealed without redactions, see
https://www.dcd.uscourts.gov/content/doc-50-2-attachment-b-documents-
unsealed-without-redactions.
                                          4
USCA Case #23-5044      Document #2015574          Filed: 09/06/2023    Page 14 of 23



docket reflects that two responses to the August 16 Order have since been filed,

both of which are under seal.

      Pursuant to Federal Rule of Appellate Procedure 29 and Circuit Rule 29,

Advance Publications, Inc., American Broadcasting Companies, Inc. d/b/a ABC

News, The Associated Press, Bloomberg L.P., Cable News Network, Inc., CBS

Broadcasting, Inc. o/b/o CBS News, Dow Jones & Company, Inc., publisher of

The Wall Street Journal, The E.W. Scripps Company, Fox News Network, LLC,

USA TODAY, a publication operated by subsidiaries of Gannett Co., Inc., Gray

Media Group, Inc., Los Angeles Times Communications LLC, publisher of The

Los Angeles Times, National Cable Satellite Corporation d/b/a C-SPAN,

NBCUniversal Media, LLC d/b/a NBC News, The New York Times Company,

POLITICO LLC, Radio Television Digital News Association, Reuters News &

Media Inc., TEGNA Inc., Telemundo Network Group LLC d/b/a Noticias

Telemundo, Univision Networks & Studios, Inc., and WP Company LLC d/b/a

The Washington Post respectfully submit this brief in support of unsealing all of

the briefs, argument transcripts, and argument audio recordings referenced in the

August 16 Order (together, the “Sealed Records”). The powerful First Amendment

and common law rights of access apply to all of the Sealed Records, and especially

given the significant amount of information about this case that this Court and the




                                         5
USCA Case #23-5044       Document #2015574            Filed: 09/06/2023     Page 15 of 23



District Court have already made public, the Government cannot demonstrate a

compelling reason to continue keeping these important records secret.

                                     ARGUMENT
      The First Amendment and common law rights of access to court records are

“a fundamental element of the rule of law, important to maintaining the integrity

and legitimacy of an independent Judicial Branch.” Metlife, Inc. v. Fin. Stability

Oversight Council, 865 F.3d 661, 663 (D.C. Cir. 2017) (Garland, J.). Nowhere is

the maintenance of integrity and legitimacy more important than in a case like this

one, involving the historic and closely-watched investigation of a former President.

Under the Constitution and the common law, the Court should unseal the Sealed

Records and any other records filed in this matter for which that Government can

no longer demonstrate a compelling need to keep from the public.

I.    THIS COURT SHOULD UNSEAL THE SEALED RECORDS
      UNDER THE FIRST AMENDMENT RIGHT OF ACCESS
      In Richmond Newspapers v. Virginia, the Supreme Court recognized that

“the right to attend criminal trials is implicit in the guarantees of the First

Amendment,” as “without the freedom to attend such trials, which people have

exercised for centuries, important aspects of freedom of speech and ‘of the press

could be eviscerated.’” 448 U.S. 555, 580 (1980) (quoting Branzburg v. Hayes,

408 U.S. 665, 681 (1972)). The Supreme Court and lower courts have since then

identified additional categories of proceedings and records to which the right of

                                            6
USCA Case #23-5044      Document #2015574           Filed: 09/06/2023    Page 16 of 23



access attaches, and “sketched a two-stage process for resolving whether the First

Amendment affords the public access to a particular judicial record or proceeding.”

Dhiab v. Trump, 852 F.3d 1087, 1102 (D.C. Cir. 2017) (Williams, J., concurring).

      “First the court must determine whether a qualified First Amendment right

of public access exists.” Id. (internal marks omitted). To make that determination,

“the Supreme Court has identified two requirements that it calls the tests of

experience and logic. The experience inquiry looks to whether the proceeding has

historically been open. And the somewhat oddly-labeled logic inquiry asks

whether the right of access plays an essential role in the proper functioning of the

judicial process and the government as a whole.” Id. at 1103 (internal marks

omitted) (quoting Press-Enter. Co. v. Super. Ct. (“Press-Enterprise II”), 478 U.S.

1, 9, (1986), and In re Reporters Comm. for Freedom of the Press, 773 F.2d 1325,

1331-32 (D.C. Cir. 1985) (Scalia, J.)). “Both tests must be satisfied before we can

conclude that the First Amendment provides a qualified right of access.” Id. If the

right of access applies, then the records or proceedings “may be sealed but only if

‘specific, on the record findings are made demonstrating that closure is essential to

preserve higher values and is narrowly tailored to serve that interest.’” Id. at 1092

(quoting Press-Enterprise II, 478 U.S. at 13-14).




                                          7
USCA Case #23-5044        Document #2015574            Filed: 09/06/2023     Page 17 of 23



       A.     The First Amendment Right Of Access Applies To The
              Sealed Records
       Experience and logic both favor access to appellate briefing and oral

argument records. In terms of experience, the National Archives provides public

access to copies of transcripts and briefs from the D.C. Circuit stretching back to

1893, the year this Circuit was established. See Guide to Federal Records:

Records of the United States Courts of Appeals, Nat’l Archives & Records Admin.,

https://www.archives.gov/research/guide-fed-records/groups/276.html. In terms of

logic, “[t]he presumption of access is based on the need for federal courts, although

independent—indeed, particularly because they are independent—to have a

measure of accountability and for the public to have confidence in the

administration of justice.” United States v. Amodeo, 71 F.3d 1044, 1048 (2d Cir.

1995). Thus, “professional and public monitoring is an essential feature of

democratic control,” and “[s]uch monitoring is not possible without access to . . .

documents that are used in the performance of Article III functions.” Id.

       That public monitoring must extend to briefs, because “[a] brief (or part of a

brief) can affect a court’s decisionmaking process even if the court’s opinion never

quotes or cites it. To affect the court’s decision, after all, is the reason parties file

briefs.” Metlife, 865 F.3d at 667. And it must include access to the records of oral

argument, as “[t]he premise of our adversarial system is that appellate courts do

not sit as self-directed boards of legal inquiry and research, but essentially as

                                            8
USCA Case #23-5044       Document #2015574            Filed: 09/06/2023    Page 18 of 23



arbiters of legal questions presented and argued by the parties before them.”

Carducci v. Regan, 714 F.2d 171, 177 (D.C. Cir. 1983) (emphasis added). Indeed,

though the Supreme Court in Richmond Newspapers made the observation with

respect to trial proceedings, it is just as true for appellate courts that the “courtroom

is a public place where the people generally—and representatives of the media—

have a right to be present, and where their presence historically has been thought to

enhance the integrity and quality of what takes place.” Richmond Newspapers,

Inc., 448 U.S. at 578.

      Public access to briefs and argument records thus passes the tests of both

experience and logic, and the First Amendment right of access applies accordingly.

      B.     The Government Cannot Justify Continuing To Withhold The
             Sealed Records From The Public
      If the Court agrees that the First Amendment right of access applies to the

Sealed Records, then to justify withholding them from the public, the Government

must demonstrate that such sealing “is essential to preserve higher values and is

narrowly tailored to serve that interest.” Dhiab, 852 F.3d at 1102 (Williams, J.,

concurring) (citation omitted). Specifically, to overcome the constitutional access

right the Government must demonstrate that:

      a.     There is a substantial probability of prejudice to a compelling
             interest if the right is not limited. Press-Enterprise II, 478 U.S.
             at 13-14; Press-Enter. Co. v. Super. Ct. (“Press-Enterprise I”),
             464 U.S. 501, 510 (1984); Richmond Newspapers, 448 U.S. at
             580-81.

                                           9
USCA Case #23-5044      Document #2015574            Filed: 09/06/2023    Page 19 of 23



      b.     There is no alternative to a limitation of the access right that
             will adequately protect against the threatened harm. Press-
             Enterprise II, 478 U.S. at 13-14; Washington Post v. Robinson,
             935 F.2d 282, 289-90 (D.C. Cir. 1991).

      c.     Restricting access will effectively protect against the threatened
             harm. Press-Enterprise II, 478 U.S. at 14; Robinson, 935 F.2d
             at 291-92.

      d.     The restriction on access is narrowly tailored to minimize the
             harm to the public’s access rights. Press-Enterprise II, 478
             U.S. at 13-14; Robinson, 935 F.2d at 287.

      With these principles in mind, this Court should conclude that the First

Amendment right of access requires the release of the Sealed Records. Particularly

because of the Court’s sua sponte decision to unseal its ruling in this matter, the

public already possesses a tremendous amount of information about this dispute

between Twitter and the Government. See generally In re Sealed Case, 2023 WL

5076091. The Government thus cannot show that continuing to seal the briefs and

oral argument records in which the parties set out their positions in that dispute is

necessary to prevent harm to a compelling state interest, let alone that there is no

alternative to continued sealing that will prevent that purported harm, or that

continued sealing of entire documents – rather than releasing those documents with

properly targeted redactions – is narrowly tailored to preventing that alleged harm.

See Robinson, 935 F.2d at 292 (concluding that “the government did not

demonstrate a compelling interest to justify sealing” court record where, inter alia,



                                          10
USCA Case #23-5044      Document #2015574           Filed: 09/06/2023    Page 20 of 23



“disclosure of [its] contents . . . would only have confirmed to the public what was

already validated by an official source”).

      Because the First Amendment right of access applies to the Sealed Records

and the Government cannot show a compelling interest in continuing to withhold

those records from the public in full, the Court should grant access to the Sealed

Records with only those redactions the Government can show are still necessary.

II.   THIS COURT SHOULD UNSEAL THE SEALED RECORDS
      UNDER THE COMMON LAW RIGHT OF ACCESS
      The Court also should release the Sealed Records under the common law

right of access. “Although [this] right is not absolute, there is a strong presumption

in its favor, which courts must weigh against any competing interests.” Metlife,

865 F.3d at 663. Like the constitutional right of access, the common law right

requires courts to conduct a two-stage analysis. First, courts determine whether the

records at issue are “judicial records” to which there is a “strong presumption” in

favor of access. Id. at 665-69. If they are judicial records, courts then apply the

six-factor test set out in United States v. Hubbard to determine whether the

presumption of access has been rebutted. 650 F.2d 293, 317-21 (D.C. Cir. 1980).

      The Sealed Records are unquestionably “judicial records” to which the

public has a presumptive right of access under the common law. See, e.g., Metlife,

865 F.3d at 668 (documents that “were filed before the district court’s decision and

were intended to influence it” are judicial records). The Court should therefore

                                         11
USCA Case #23-5044       Document #2015574           Filed: 09/06/2023    Page 21 of 23



release those records unless the Government rebuts the strong presumption of

public access under Hubbard and Metlife, which it cannot do given the extensive

amount of information about this case that is already public. See In re New York

Times Co., 585 F. Supp. 2d 83, 93 (D.D.C. 2008) (ordering Government to release

records with limited redactions because the “public has made a strong showing of

need for the materials, much of the information is already in the public forum, and

there is no possibility of prejudice to an investigation or a future defendant”).

                                  CONCLUSION
      For the foregoing reasons, this Court should unseal all of the records referred

to in the August 16, 2023 Order, as well as any other records in this matter for

which the Government can no longer demonstrate a compelling need for secrecy.

       Dated: September 6, 2023          Respectfully submitted,

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                                          12
USCA Case #23-5044     Document #2015574          Filed: 09/06/2023   Page 22 of 23



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                                       13
USCA Case #23-5044      Document #2015574           Filed: 09/06/2023     Page 23 of 23



                          CERTIFICATE OF SERVICE

      I hereby certify that, on this date, I caused the foregoing to be filed and

served electronically via the Court’s ECF System upon all counsel of record. I

further certify that, pursuant to Circuit Rule 31(b), I caused eight paper copies of

the foregoing to be filed via FedEx to the Clerk of the Court for the United States

Court of Appeals for the District of Columbia Circuit.

      Dated: September 6, 2023          /s/ Charles D. Tobin
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                                          14
